Case 1:20-mc-00257-LPS Document 38-5 Filed 04/16/21 Page 1 of 11 PageID #: 1575




                Exhibit 5
4/14/2021   Case 1:20-mc-00257-LPS    Document
                                Venezuela's           38-5 says
                                            PDVSA, in default, Filed
                                                                  total 04/16/21       Page 2 inof2019
                                                                        debt remained unchanged     11| PageID
                                                                                                        Reuters #: 1576


                                      World        Business         Markets         Breakingviews           Video       More




    COMMODITIES NEWS
    JANUARY 27, 2020 / 11:17 AM / UPDATED A YEAR AGO




    Venezuela's PDVSA, in default, says total debt remained
    unchanged in 2019

    By Reuters Staﬀ




https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM   1/10
4/14/2021   Case 1:20-mc-00257-LPS    Document
                                Venezuela's           38-5 says
                                            PDVSA, in default, Filed
                                                                  total 04/16/21       Page 3 inof2019
                                                                        debt remained unchanged     11| PageID
                                                                                                        Reuters #: 1577




    FILE PHOTO: The entrace to the Petroleos de Venezuela, S. A. (PDVSA) headquarters is sealed by the police in
    La Paz, Bolivia, January 9, 2020. Picture taken January 9, 2020. REUTERS/David Mercado


    CARACAS (Reuters) - Venezuela’s state-run oil company PDVSA said its ﬁnancial debt fell less
    than 0.1% in 2019 from the prior year to some $34.5 billion, though it remained in default on
    its bonds as sanctions freeze it out of the global banking system.


    PDVSA, which is short for Petroleos de Venezuela S.A., has stopped paying interest on most its
    bonds, and together with Venezuela’s government has accumulated billions of dollars in late
    interest payments.

    ADVERTISEMENT




https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM   2/10
4/14/2021   Case 1:20-mc-00257-LPS    Document
                                Venezuela's           38-5 says
                                            PDVSA, in default, Filed
                                                                  total 04/16/21       Page 4 inof2019
                                                                        debt remained unchanged     11| PageID
                                                                                                        Reuters #: 1578




    The company’s announcement, in the form of an advisory in a local newspaper last week, said
    it owed almost $25.2 billion to bondholders, up slightly from $24.7 billion at the end of 2018.


    PDVSA said its commercial debts with foreign joint venture partners, including Chevron Corp
    and China National Petroleum Corp [CNPET.UL], dipped to $2.65 billion by the end of 2019,
    down from $2.66 billion at the end of the prior year.

    ADVERTISEMENT




                                               PA I D F O R A N D P O S T E D B Y F I S H E R I N V E S T M E N T S

                                               How Politics Move Markets
                                               Markets care about policies—not politicians


                                               Read More ›




    The company, which has not published a complete annual report since 2017, did not detail
    other obligations, such as pending debt to providers, an issue that has contributed to declining
    output in recent years.


    PDVSA defaulted on some of its bonds in 2017 and on the rest of its bonds in 2019. It is in
    default on $6 billion in interest and principle.


    Venezuela reported to OPEC an average crude production of about 1 million barrels per day
    (bpd) in 2019, its lowest level in almost 75 years amid sanctions imposed by the United States


https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM   3/10
4/14/2021   Case 1:20-mc-00257-LPS    Document
                                Venezuela's           38-5 says
                                            PDVSA, in default, Filed
                                                                  total 04/16/21       Page 5 inof2019
                                                                        debt remained unchanged     11| PageID
                                                                                                        Reuters #: 1579
    to oust socialist President Nicolas Maduro, lack of investment capital and staﬀ, and
    mismanagement.


    Reporting by Luc Cohen; editing by Jonathan Oatis


    Our Standards: The Thomson Reuters Trust Principles.

    MORE FROM REUTERS


    ___




https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM   4/10
4/14/2021   Case 1:20-mc-00257-LPS    Document
                                Venezuela's           38-5 says
                                            PDVSA, in default, Filed
                                                                  total 04/16/21       Page 6 inof2019
                                                                        debt remained unchanged     11| PageID
                                                                                                        Reuters #: 1580
    PAID PROMOTIONAL LINKS                                                  Promoted by Dianomi




    Remote roles for licensed                        Buying and Selling Tips
    ﬁnancial professionals. Apply                    Charles Schwab
    now.
    Fidelity Investments




    7 Mistakes You'll                Retirees: Return to             9 Strange Things
    Make When Hiring                 Work?                           Millionaires Do
    a Financial Advisor              Charles Schwab                  With Their Money
    smartasset                                                       (But We Don’t)
                                                                     The Penny Hoarder




https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM   5/10
4/14/2021   Case 1:20-mc-00257-LPS    Document
                                Venezuela's           38-5 says
                                            PDVSA, in default, Filed
                                                                  total 04/16/21       Page 7 inof2019
                                                                        debt remained unchanged     11| PageID
                                                                                                        Reuters #: 1581

     Sponsored Video by:
                                                                                                                                       ×
       Track Your Entire Portfolio For Free
                                                                                                                 Find out more




                                                                                                                         Video Ad by




https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM         6/10
4/14/2021    Case 1:20-mc-00257-LPS    Document
                                 Venezuela's           38-5 says
                                             PDVSA, in default, Filed
                                                                   total 04/16/21       Page 8 inof2019
                                                                         debt remained unchanged     11| PageID
                                                                                                         Reuters #: 1582
    MORE FROM REUTERS




    Bitcoin hits one-week low as rising              Philippine mobile wallet GCash
    U.S. yields dent rally                           raises over $175 million in new
    11 Jan                                           capital
                                                     11 Jan




    GameStop forfeits over           SpaceX raises $1.16             EU Commission to end
    587,000 shares from              billion in equity               AstraZeneca and J&J
    CEO for not meeting              ﬁnancing                        vaccine contracts at...
    targets                          14 Apr                          14 Apr
    14 Apr




https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM   7/10
4/14/2021   Case 1:20-mc-00257-LPS    Document
                                Venezuela's           38-5 says
                                            PDVSA, in default, Filed
                                                                  total 04/16/21       Page 9 inof2019
                                                                        debt remained unchanged     11| PageID
                                                                                                        Reuters #: 1583




https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM   8/10
4/14/2021Case    1:20-mc-00257-LPS    Document
                                Venezuela's PDVSA, in38-5      Filed
                                                     default, says total04/16/21
                                                                         debt remained Page   10inof
                                                                                       unchanged     11| Reuters
                                                                                                  2019    PageID #: 1584
    MORE FROM REUTERS




    Taiwan's Pegatron to build Tesla                 Denmark to permanently discontinue
    parts plant in Texas - report                    use of AstraZeneca vaccine: TV2
    14 Apr                                           14 Apr




    Federal Bureau of                Black man killed by             Coinbase heads for $89
    Prisons says Ponzi               police in Minnesota was         billion valuation in
    schemer Bernard                  'amazing, loving...             Nasdaq debut
    Madoff has...                    13 Apr                          14 Apr
    14 Apr




https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM   9/10
4/14/2021Case    1:20-mc-00257-LPS    Document
                                Venezuela's PDVSA, in38-5      Filed
                                                     default, says total04/16/21
                                                                         debt remained Page   11inof
                                                                                       unchanged     11| Reuters
                                                                                                  2019    PageID #: 1585




     Apps      Newsletters       Advertise with Us         Advertising Guidelines           Cookies      Terms of Use        Privacy




                 All quotes delayed a minimum of 15 minutes. See here for a complete list of exchanges and delays.
                                                    © 2021 Reuters. All Rights Reserved.




https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-remained-unchanged-in-2019-idUSKBN1ZQ1UM     10/10
